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                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                     CERTIFICATE OF CONFIDENTIALITY, LOCAL RULE 25(c)

        No.                     Caption:


                            (appellant, appellee, petitioner, respondent, other)

        certifies the following information regarding sealing of the document(s) described below:

        1. Identify document(s) filed (e.g., sealed appendix volume, sealed version of brief):



        2. Is sealing of document(s) necessary?

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                                        CERTIFICATE OF SERVICE



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